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  13                               UNITED STATES DISTRICT COURT
  14                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
  15 BRIAN KIRBY                                                    CASE NO. 2:20-CV-03776-RGK-SK
  16                        Plaintiffs,
                                                                    PROPOSED ORDER GRANTING
  17 v.                                                             JOINT STIPULATION PURSUANT
                                                                    TO FED.R.CIV.P.41(a(1)(A)(ii) TO
  18 PRINCESS CRUISE LINES LTD.,                                    DISMISS COMPLAINT
  19
                        Defendant.
                                                                    Judge: Hon. R. Gary Klausner
  20                                                                Magistrate: Hon. Steve Kim
                                                                    Filed: 07/29/2020
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  24                                                 PROPOSED ORDER

  25           Based on the foregoing Joint Stipulation and good cause appearing therefore,

  26 this Court Orders as follows:

  27           1. The Complaint shall be dismissed in accordance with Fed.R. Civ. P.

  28                41(a)(1)(A)(ii) with prejudice and without costs to any party.

                                                                1
       Proposed Order Granting Joint Stipulation of Dismissal                            20-CV-03776-RGK-SK
Case 2:20-cv-03776-RGK-SK Document 80 Filed 07/30/21 Page 2 of 2 Page ID #:524




   1           2. The Court shall retain jurisdiction to enforce the settlement.
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   3           IT IS SO ORDERED.
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   5           Dated: July 30, 2021
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                                                  Honorable R. Gary Klausner
                                                  United State District Court Judge
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       Proposed Order Granting Joint Stipulation of Dismissal                         20-CV-03776-RGK-SK
